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PP 4210.2
Attachment J
Inmate Institutional Work Program

Dc DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING - INMATE

———, 4 / fi. / Z.
Inmate’s Name AYHAL AdicMmedls DCDC # Date 2 ef
Evaluation Period (Manth/Year) Squad Position/Grade_,
yank — Aye FEA Head thir i etry 7
Quality of Work
| Excellent Does superior work. Does more work than is expected or required.
Satisfactory Makes fewer mistakes than most workers at this level of training/work.
Good Acceptable level of work. Produces average volume of work.
Fair Often makes mistakes; often completes less work than others of same skill level.
Unsatisfactory Repeatedly makes errors, shows little interest in producing better quality, low output.
2. antity of Work
Excellent Superior work and exceeds expected productivity.
Good Motivated to work; does full days work, wastes little time.
Satisfactory Works steadily but does not push to exceed.
Fair __| Does just enough to get by, has to be encouraged to do more.
Unsatisfactory Very low output, must be prompted to complete work.
3. J|nitiative
./| Excellent Good ideas to improve work, does work to improve skills, works with positive attitude.
Good Adapts well to change, works to improve skills, works with above average interest.
Satisfactory Starts work without being told, generally works with a positive attitude.
Fair Shows minimal interest, usually relies on others to say what needs to be done.
| Unsatisfactory Shows little job interest, waits to be told what to do, works with a negative attitude.
4, pendability, Safety, Care of Equipment
| Excellent Work is very reliable, consistent and thorough, always completes tasks on time.
Good Work Is usually reliable and consistent.
Satisfactory Completes work on time .
Fair Work is sometimes unreliable, satisfied to complete a minimum of work.
Unsatisfactory Work is usually unreliable. Does not accept responsibility and gives up easily.
5. ReSponse to Supervision
&” | Outstanding Makes a real effort to please supervisor, does exactly what is required.
Good Accepts feedback well, tries to improve.
Satisfactory Generally does what is told, accepts instruction, feedback.
Fair. Resists or ignores suggestions.
Unsatisfactory Responds with hostility towards work assignments, regularly argues with supervisor.
6. all Job Proficiency: If in community based upon inmate’s performance would you:
Promote this inmate to amore demanding job at a higher rate of pay
Raise this inmate’s pay but keep individual at same job
Continue to employ this inmate but would not recommend for promotion o or pay Ise
Transfer this inmate to a less demanding job at a lower rate of pay
Terminate inmate’s employment 5 )
Supervisor's Signatu af, , LZ Date 3] {. o
TP) tBdullg ly . e2f eer
Inmate’s Signature Date
Avan Mia Biel 21
Inmate’s Response ~~ :

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PP 4210.2
Attachment J
Inmate Institutional Work Program

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING —- INMATE

Inmate’s Name DCDC # Date /
| Ayan Mich ots 37679S5_ Ht
Evaluation Period (Month/Year) Squad Position/Grade —
1. Aluality of Work
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6. Owvérall Job Proficiency: If in community based upon inmate’s performance would yOu:
Promote this inmate to a more demanding job at a higher rate of pay
Raise this inmate’s pay but keep individual at same job
Continue to employ this inmate but would not recommend for promotion or pay raise

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Inmate’s Responsé

Original Inmate’s Institutional File
Copy Inmate Worker
Squad Supervisor
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Inmate Institutional Work Program

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING — INMATE

Inmate’s Name Nichols, Ruan DCDC # Date ¥- 24-2]
_ 41u- 145
Evaluation Period (Month/Year) Squad Position/Grade
Avgust 02] CUR Unit Oetar]
1. Quality of Work
Excellent | Does superior work. Does more work than Is expected or required.
Satisfactory Makes fewer mistakes than most workers at this level of training/work.
Good Acceptable level of work. Produces average volume of work.
Fair Often makes mistakes; often completes less work than others of same skill level.
| Unsatisfactory Repeatedly makes errors, shows little interest in producing better quality, low output.
2. Quantity of Work
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Good Motivated to work; does full days work, wastes little time.
Satisfactory Works steadily but does not push to exceed.
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Unsatisfactory Very low output, must be prompted to complete work.
| 3. Initiative
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4. Dependability, Safety, Care of Equipment
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Fair Work is sometimes unreliable, satisfied to complete a minimum of work.
Unsatisfactory Work is usually unreliable. Does not accept responsibility and gives up easily.
5. Response to Supervision
Outstanding Makes a real effort to please supervisor, does exactly what is required. |
Good Accepts feedback well, tries to improve.
Satisfactory Generally does what is told, accepts instruction, feedback.
Fair Resists or ignores suggestions.
Unsatisfactory Responds with hostility towards work assignments, regularly argues with supervisor.
6. Overall Job Proficiency: If in community based upon inmate's performance would you:
“| Promote this inmate to a more demanding job at a higher rate of pay
Raise this inmate's pay but keep individual at same job
Continue to employ this inmate but would not recommend for promotion or pay raise
Transfer this inmate to a less demanding job at a lower rate of pay
Terminate inmate's employment 4
Supervisor's Signature Date
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Inmate’s Signature 3 . Date vv; ,
re AA 6/2¥/2(
Ryan Miche
Inmate's Response

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Copy Inmate Worker
Squad Supervisor jab ou ties ‘ Always Ghouws veS peed ane ws )\

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ne Attachment J
Inmate Institutional Work Program

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING —- INMATE

Inmate's Name DCDC # Date
Nichols, Ryan 376-795 9/1/2021
Evaluation Period (Month/Year) Squad Position/Grade
3/8/21-Present In-house
1. Quality of Work
x | Excellent Does superior work. Does more work than is expected or required.
Satisfactory Makes fewer mistakes than most workers at this level of training/work.
Good Acceptable level of work. Produces average volume of work.
Fair Often makes mistakes; often completes less work than others of same skill level.
Unsatisfactory Repeatedly makes errors, shows little interest in producing better quality, low output.
2. Quantity of Work
X | Excellent Superior work and exceeds expected productivity.
Good Motivated to work; does full days work, wastes little time.
Satisfactory Works steadily but does not push to exceed.
Fair Does just enough to get by, has to be encouraged to do more.
Unsatisfactory Very low output, must be prompted to complete work.
3. Initiative
X | Excellent Good ideas to improve work, does work to improve skills, works with positive attitude.
Good Adapts well to change, works to improve skills, works with above average interest.
Satisfactory Starts work without being told, generally works with a positive attitude.
Fair Shows minimal interest, usually relies on others to say what needs to be done.
Unsatisfactory Shows little job interest, waits to be told what to do, works with a negative attitude.
4. Dependability, Safety, Care of Equipment
X | Excellent Work is very reliable, consistent and thorough, always completes tasks on time.
Good Work is usually reliable and consistent.
Satisfactory Completes work on time .
Fair Work is sometimes unreliable, satisfied to complete a minimum of work.
Unsatisfactory Work is usually unreliable. Does not accept responsibility and gives up easily.
5. Response to Supervision
X | Outstanding Makes a real effort to please supervisor, does exactly what is required.
Good Accepts feedback well, tries to improve.
Satisfactory Generally does what is told, accepts instruction, feedback.
Fair Resists or ignores suggestions.
Unsatisfactory Responds wih hostility towards work assignments, regularly argues with supervisor.
6. Overall Job Proficiency: If in community based upon inmate’s performance would you:
| X | Promote this inmate to a more demandjng job at a higher rate of pay
Raise this inmate’s pay but keep individual at same job
Continue to employ this inmate but would not recommend for promotion or pay raise
Transfer this inmate to a less demanding job at a lower rate of pay
Terminate inmate’s employment |
Supervisor's Signature of, fe Date |
Sgt S. Franklin 24h f 9/1/2021
Inmate’s Signature re Date Ky
Ayan Nulols ——z= q/i/ 21
Inmate’s Response

Original Inmate’s Institutional File
Copy Inmate Worker
Squad Supervisor
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Work Performance Comments

Inmate Nichols, Ryan DCDC 376-795 has been housed in housing unit C2B since entering the
Correctional Treatment Facility. Inmate Nichols, Ryan has been an outstanding contribution to C2B since
being assigned to the housing unit and the detail squad. His natural leadership ability has been steadfast
and unwavering. Inmate Nichols gives 100% effort in every assignment that is given to him. Since
entering the Correctional Treatment Facility Inmate Nichols hasn’t had any adverse action or any
Disciplinary Reports for negative institutional behavior, in fact Inmate Nichols consistently shows
positive institutional behavior with all staff and the entire inmate population assigned to housing unit
C2B. Inmate Nichols is a mentor that is used daily by uniform and non-uniform staff assigned to the
housing unit. Inmate Nichols has been many assignments with little to no supervision. Inmate Nichols is
a morale booster, counselor amongst the Inmate Population assigned to housing unit C2B, his ability to
quarrel disputes between others inmate’s is outstanding. | recommend that Inmate Nichols be given
the next position based off of his excellent work ethic and his ability to continue to display his positive
institutional behavior.

Sergeant Shawn Franklin

Correctional Treatment Facility

C Building Zone Supervisor
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Work Performance Comments

Inmate Nichols, Ryan DCDC 376-795 has been housed in housing unit C2B since entering the
Correctional Treatment Facility. Inmate Nichols, Ryan has been an outstanding In-housed detail squad
member since he had been assigned to the detail squad since March 9, 2021. His assignment is to
ensure the cleanliness of the entire housing unit with little to no supervision. Inmate Nichols, Ryan is
consistently shows positive institutional behavior with all staff and the entire inmate population
assigned to housing unit C2B. Inmate Nichols, Ryan gives 100% effort in every assignment that is given to
him. Inmate Nichols, Ryan is a mentor that is used daily by uniform and non-uniform staff assigned to
the housing unit. Inmate Nichols, Ryan is a morale booster amongst the inmate population.

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Sgt. Shawn Franklin

C Building Zone Supervisor
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| wis cK Performance | Write -Uf

Kyoa Nichots. has. been an outstanding
member of the detail unit in fod 6-28 a
Since. —Agcil (6% He oversees the units
— Sanitation and cleanliness. fotlows all instructions _
given to him , and gives [00% effort in every
task. Mc. NichalS iS ConststetlY Polite and the ceesah
Pespesfl to all officers and fellow inmates. Last,
but Certamly not least, Me. NihaS is a Prbleq
|solWer When morale is low , Ayan finds a way
As uplift — the seirits af those —aromd Wim i
order to oleate a Safe, Prsitiie, and sible
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